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 1                        UNITED STATES DISTRICT COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA
 3                                 (WESTERN DIVISION)
 4
      JANE DOE,                                     2:22-cv-02344-MEMF-GJSx
 5
 6                  Plaintiff,                      CERTIFICATE OF SERVICE
 7           v.                                     Date:      December 1, 2022
                                                    Time:      10:00 A.M.
 8                                                  Courtroom: 8B
      JOSEPH “JOJO” DIAZ JR.,
 9                                                  Judge: Hon. Maame Ewusi-Mensah
                    Defendant.                      Frimpong
10
11
12
13                               CERTIFICATE OF SERVICE
14
           I hereby certify that on November 14, 2022, I served a copy of the following
15
16   documents –
17
        1. A copy of the Email notification of the Text Only Entry Order advancing the
18
19         hearing to December 1, 2022, at 10:00am [Dkt No. 39];
20      2. A letter to Plaintiff indicating the date, time, and location of the hearing;
21
        3. Plaintiff Jane Doe’s Motion To Strike Defendant’s Answer to Amended
22
23         Complaint;
24
        4. Plaintiff Jane Doe’s Application for Entry of Default Against Defendant
25
26         Joseph ‘JoJo’ Diaz, Jr.;
27
        5. Plaintiff Jane Doe’s Notice of Motion, Motion, and Incorporated
28


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     CERTIFICATE OF SERVICE
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 1            Memorandum to Enter Default Judgment.
 2      Via U.S. Postal Service certified mail with signature required return receipt,
 3
     tracking number 70212720000019097582 (See Exhibit 1), which, according to the
 4
 5   U.S. Postal Service tracking service, is being returned “because the addressee was
 6
     not known at the delivery address noted on the package.” (See Exhibit 2).
 7
 8            Via U.S. Postal Service priority mail no signature required delivery, tracking
 9   number 9405511206203844521558 (See Exhibit 3), which according to the U.S.
10
     Postal Service tracking service, is being returned “because the addressee was not
11
12   known at the delivery address noted on the package.” (See Exhibit 4).
13
              Via email at the Defendant’s email address jojotheboxer@gmail.com where
14
15   Defendant has previously accepted service, whereupon Defendant replied to the
16
     email.
17
18            And lastly, Defendant was personally served on November 16, 2022 by a

19   registered California process server (See Exhibit 5).
20
21
22                                            /s/ Rajan O. Dhungana
23                                            Rajan O. Dhungana (SBN: 297794)
                                              FEDERAL PRACTICE GROUP
24                                            431 N Brookhurst St, Suite 130
25                                            Anaheim, CA 92801
                                              Telephone: (310) 795-6905
26                                            rdhungana@fedpractice.com
27                                            Attorney for Plaintiff
                                              Jane Doe
28


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     CERTIFICATE OF SERVICE
